

Matter of Gordon (2019 NY Slip Op 08759)





Matter of Gordon


2019 NY Slip Op 08759


Decided on December 5, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 5, 2019

PM-215-19

[*1]In the Matter of Jillian Grace Gordon, Also Known as Jillian Gordon Miller, an Attorney. (Attorney Registration No. 4904173.)

Calendar Date: November 25, 2019

Before: Garry, P.J., Clark, Mulvey, Aarons and Pritzker, JJ.


Jillian Grace Gordon, Boise, Idaho, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Jillian Grace Gordon was admitted to practice by this Court in 2011 and lists a business address in Nampa, Idaho with the Office of Court Administration. Gordon now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it defers to our discretion concerning Gordon's application.
Upon reading Gordon's affidavit sworn to September 4, 2019 and filed September 9, 2019, and upon reading the November 22, 2019 correspondence in response by the Chief Attorney for AGC, and having determined that Gordon is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.Garry, P.J., Clark, Mulvey, Aarons and Pritzker, JJ., concur.
ORDERED that Jillian Grace Gordon's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is furtherORDERED that Jillian Grace Gordon's name is hereby stricken from the
roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is furtherORDERED that Jillian Grace Gordon
is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Gordon is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is furtherORDERED that Jillian Grace Gordon
shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.	








